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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

       v.                                               CRIMINAL ACTION

MOSHE PORAT,                                            NO. 21-170

                      Defendant.


                                      ORDER

      AND NOW, this 8th day of March 2022, upon consideration of Defendant Moshe

Porat’s Motion for Judgment of Acquittal (ECF 109) and Motion for Judgment of

Acquittal or for a New Trial (ECF 139) and the Government’s Response (ECF 145), it is

hereby ORDERED that Defendant’s Motions are DENIED.



                                              BY THE COURT:


                                              /s/ Gerald J. Pappert
                                              GERALD J. PAPPERT, J.
